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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                  :
                                        : Case No.: 20-12224
Jennifer A Lis                          : Chapter 13
                                        : Judge Ashely M. Chan
                              Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                        :
Wells Fargo Bank, N.A., d/b/a Wells     : Date and Time of Hearing
Fargo Auto                              : Place of Hearing
                               Movant, : April 6, 2021 at 11:00 a.m.
       vs                               :
                                        : U.S. Bankruptcy Court
Jennifer A Lis                          : 900 Market Street, Courtroom #4
Victoria L Gowland                      : Philadelphia, PA, 19107
                                        :
William C. Miller, Esq.
                              Respondents.

      MOTION OF WELLS FARGO BANK, N.A., D/B/A WELLS FARGO AUTO FOR
     RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY REGARDING
       THE PERSONAL PROPERTY KNOWN AS 2016 HYUNDAI TUCSON, VIN#
                          KM8J3CA44GU228757

        Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto (the "Creditor"), by and through the

undersigned counsel, files this Motion for Relief from the Automatic Stay and from the Co-

Debtor Stay pursuant to 11 U.S.C. § 362, 11 U.S.C. § 1301, and other sections of Title 11 of the

United States Code, and under Federal Rules of Bankruptcy Procedure 4001 and 6007 for an

order conditioning, modifying, annulling, or dissolving the automatic stay, averring as follows.

1.      This is an action arising pursuant to a case under Title 11 of the United States Code.

2.      Creditor is a lending institution duly authorized to conduct business in the

        Commonwealth of Pennsylvania.

3.      Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a secured

        creditor of the Debtor.




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4.    The Court has jurisdiction over this matter under 28 U.S.C §§ 157 and 1334. This is a

      core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

      proper under 28 U.S.C. §§ 1408 and 1409.

5.    On July 30, 2016, Jennifer A Lis (the "Debtor") and Victoria L Gowland (the "Co-

      Debtor") obtained a loan from Wells Fargo Bank N.A. d/b/a Wells Fargo Auto in the

      amount of $17,842.23 for the purchase of a 2016 Hyundai Tucson

      VIN#KM8J3CA44GU228757 ("Collateral"). Debtor agreed to make periodic payments

      to Wells Fargo Bank N.A. d/b/a Wells Fargo Auto. Such loan was evidenced by a Retail

      Installment Sale Contract Simple Finance Charge (the "Contract"), a copy of which is

      attached hereto as Exhibit A.

6.    On or about August 11, 2016, Creditor or Creditor's predecessor-in-interest perfected its

      security interest in the Collateral by delivering the Certificate of Title along with the

      appropriate application and fees to the Department of Transportation of the

      Commonwealth in accordance with Pa.C.S. § 1132.1(a). As a result, Creditor has a valid

      security interest in the Collateral. A copy of the electronic title inquiry is attached hereto

      as Exhibit B (the "Title").

7.    Creditor believes the value of the Collateral is $14,675.00 based upon the 2021 NADA

      Used Cars/Trucks value guide, a copy of which is attached hereto as Exhibit C.

8.    On May 5, 2020, Debtor filed a voluntary petition for relief under Chapter 13 of the

      United States Bankruptcy Code ("Petition").

9.    Post-petition payments have not been received, therefore no post-petition payment history

      is attached.




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10.   Pursuant to Debtor's Schedule C, Debtor has claimed an exemption in the amount of

      $2,428.00 against the Vehicle.

11.   Debtor's Chapter 13 Plan calls for the Debtor to retain the Vehicle.

12.   Debtor has failed to make full post-petition payments in the amount of $268.80 for 1

      month and $269.40 for the past 9 months as of February 18, 2021 and is in default in the

      amount of $2,693.40.

13.   As of February 18, 2021, there is currently due and owing on the Contract the

      outstanding secured balance of $7,172.68, plus interest accruing thereon at the rate of

      2.750% per annum. This amount is broken down as follows:


                                       Total Loan Balance

                Description                                           Amount
                  Principal                                          $7,092.21
                   Interest                                           $80.47
             Escrow advance                                            $0.00
                Late charges                                           $0.00
                 Other Fees                                            $0.00
      Less Contractual Suspense Funds                                 $(0.00)

                                        Total: $7,172.68


14.   Creditor seeks relief from the automatic stay pursuant to 11 U.S.C. § 362(d) to proceed

      under applicable nonbankruptcy law to enforce its remedies to repossess and sell the

      Collateral.

15.   Creditor is entitled to relief from the automatic stay for the following reason(s):

      a.     Creditor lacks adequate protection of its secured interest in the Collateral pursuant
             to 11 USC § 362(d)(1) as a result of Debtor's failure to make payments when due.

      b.     Debtor has inconsequential equity in the Collateral, and the Debtor does not need
             the Collateral for an effective reorganization pursuant to 11 USC § 362(d)(2). The


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               Collateral is valued at $14,675.00 and Debtor owns a half interest in the Collateral
               with co-debtor Victoria L Gowland. Debtor’s interest in the Collateral is
               $7,337.50. According to Debtor's Schedule C, Debtor has claimed an exemption
               in the amount of $2,428.00 in the Collateral. Considering the balance of
               Creditor's lien together with Debtor's claimed exemption, there is still a small
               amount of inconsequential equity in the Collateral. Based upon the
               inconsequential equity in the Collateral, Creditor asserts that the Collateral is
               burdensome and/or of inconsequential value and benefit to the estate.

       WHEREFORE, Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto respectfully requests

this Honorable Court to enter an order terminating the Automatic stay and the Co-Debtor Stay as

it affects the interests of Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto in the Collateral, and

granting such other relief as this Honorable Court may deem just.

                                                     Respectfully submitted,
                                                      /s/ Sarah E. Barngrover
                                                     Sarah E. Barngrover, Esquire (323972)
                                                     Adam B. Hall (323867)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     Telephone: 614-220-5611
                                                     Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Sarah E.
                                                     Barngrover.
                                                     Contact email is
                                                     sebarngrover@manleydeas.com




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Victoria L Gowland                      : Philadelphia, PA, 19107
                                        :
William C. Miller, Esq.
                              Respondents.

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion of Wells Fargo

Bank, N.A., d/b/a Wells Fargo Auto for Relief from the Automatic Stay and Co-Debtor Stay

regarding the Personal Property known as 2016 Hyundai Tucson, VIN#KM8J3CA44GU228757

was served on the parties listed below via e-mail notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   William C. Miller, Esq., Chapter 13 Trustee, P.O. Box 1229, Philadelphia, PA 19105,
   ecfemails@ph13trustee.com

   Brad J. Sadek, Attorney for Jennifer A Lis, Sadek and Cooper, 1315 Walnut Street, Suite 502,
   Philadelphia, PA 19107, brad@sadeklaw.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on
March 17
_______________,   2021:

   Jennifer A Lis and Victoria L Gowland, 10211 Ambridge Place, Philadelphia, PA 19114




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         March 17, 2021
  DATE: _____________________
                                            /s/ Sarah E. Barngrover
                                           Sarah E. Barngrover, Esquire (323972)
                                           Adam B. Hall (323867)
                                           Manley Deas Kochalski LLC
                                           P.O. Box 165028
                                           Columbus, OH 43216-5028
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